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                       Patterson Belknap Webb &Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 854033
400 Madison Avenue                                                                July 18, 2016
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                  June 30, 2016 In Connection With The Following:


6/1/16           BPG      Confer T. Maduro re: keep-well research (.2);            1.90         $1,406.00
                          follow-up re: same (.1); OC D. Lowenthal re:
                          term sheet (.5); continuing review of term sheet
                          / settlement agreement (.6); attention to e-mails
                          re: LSI motion and review attachment (.2);
                          attention to e-mail re: mediation (.1); confer D.
                          Lowenthal re: same (.2).
6/1/16          DAL       Review term sheet in preparation for mediation,          2.50         $2,425.00
                          conf. B. Guiney re same, email Akin re same,
                          Tc J. Tecce re status; email J. Heaney re same
                          (2.5).
6/1/16          TM        Research re: keep well agreements.                       5.00         $1,100.00
6/2/16          BPG       Attention to e-mails re: mediation and consider          2.50        $1,850.00
                          same, follow-up re: proposed settlement term
                          sheet (.4); review docket (.1); attention to e-
                          mail updates from D. Lowenthal, confer C.
                          Dent re: same and follow-up re: NNCC issues
                          (.5); reviewing multiple mediation reports
                          throughout the day (.7); review docket (.2);
                          follow-up re: research (.3); review draft of
                          Akin LSI response and follow-up (.3).
6/2/16          CWD       E-mails re mediation, OC B. Guiney re same               0.10            $67.50
                          (.1).
6/2/16          DAL       Mediation at Cleary; email L. Schweitzer;                9.70        $9,409.00
                          emails with J. Tecce.
6/2/16          TM        Research keep well agreement.                            8.00        $1,760.00




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6/3/16        BPG     Review revised 2019 statement and follow-up          1.60     $1,184.00
                      (.2); confer C. Dent re: open issues (.2);
                      multiple e-mails re: mediation and follow-up
                      re: same (.4); review and consider SNMP filing
                      (.2); follow-up re: mediation incl. tc with D.
                      Lowenthal (for part) and OC with C. Dent (for
                      part) (.5); follow-up re: 6/6 hearing (.1).
6/3/16        CWD Reviewing docket (.1); e-mails re 2019 and               0.60       $405.00
                   mediation, TC D. Lowenthal re same, OC B.
                   Guiney re same (.5).
6/3/16        DAL Mediation at Cleary; conf. J. Ray re next steps          6.40     $6,208.00
                    concerning NNCC and need to engage with our
                    holders; emails with J. Tecce; Tc B. Guiney
                    and C. Dent (6.4).
6/3/16       TM       Additional research.                                 4.00       $880.00
6/6/16        BPG Reviewing settlement and supplemental term               4.10     $3,034.00
                    sheet, work on issues list (1.5); review LSI
                    order and monitor hearing, follow-up re: same
                    (1.0); participate on UCC call and follow-up
                    OC with D. Lowenthal and C. Dent (1.0);
                    review materials from T. Maduro (.6).
6/6/16       CWD Reviewing docket (.1); preparing for and                  1.40       $945.00
                  participating in Committee call, OC D.
                  Lowenthal and B. Guiney re same (1.3).
6/6/16       DAL Court hearing by phone; review updated term               3.60     $3,492.00
                   sheets; update S. Miller and E. Lamek (2.0);
                   weekly call and Tc S. Miller re status (1.5);
                   emails with E. Lamek (.1).
6/7/16       BPG      Review docket (.1); attention to e-mails re:         0.70       $518.00
                      mediation, RSA, etc. (.2); attention to research
                      (.4).
6/7/16       CWD Reviewing docket, e-mails re settlement                   0.10        $67.50
                  discussions (.1).
6/7/16       DAL      Tc F. Hodara re status and next steps (.2);          1.10     $1,067.00
                      emails with J. Tecce (.1). memo to J. Heaney
                      (.4); review term sheet issues (.4).




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6/8/16        BPG     Follow-up re: settlement, reviewing same and         1.10        $814.00
                      term sheet, consider NDA, follow-up re:
                      research (.7); reviewing docket and recent fee
                      applications (.4).
6/8/16        DAL Tc E. Lamek re status (1.0).                             1.00        $970.00
6/9/16        BPG Review materials from M. Fagen for weekly                3.00      $2,220.00
                    call, prepare for same and participate on same,
                    follow-up re: same (1.8); confer D. Lowenthal
                    and C. Dent re: open issues and settlement,
                    follow-up re: same and consider next steps (.8);
                    attention to e-mails and updates (.4).
6/9/16        CWD Reviewing bondholder NDA and BRG                         1.20        $810.00
                   recovery presentation (.1); participate in
                   Committee call (.8); meeting w/D. Lowenthal
                   and B. Guiney re recovery issues (.3).
6/9/16        DAL Weekly call and review materials (2.0); conf             2.40      $2,328.00
                   with B. Guiney and C. Dent re next steps (.4).
6/10/16       BPG Review draft NDA and follow-up (.4)                      1.90      $1,406,00
                    reviewing RSA (1.2); attention to e-mails (.3).
6/11/16       CWD Emails re settlement agreement, reviewing                0.60        $405.00
                   same (.6).
6/12/16       BPG E-mails re: RSA and review BNY comments to               1.70      $1,258.00
                    same (.3); follow-up re: same (.1); continue
                    reviewing RSA, prepare for and participate on
                    TC with D. Lowenthal and C. Dent re: RSA
                    (1.3).
6/12/16       CWD Call re draft settlement documents (.9)                  0.90        $607.50
6/12/16       DAL Review draft Plan Support Agreement and                  1.00        $970.00
                    email colleagues and J. Tecce (.3); review
                    comments with colleagues (.7).
6/13/16       BPG     Confer D. Lowenthal and C. Dent re: open             3.00      $2,220.00
                      issues, attention to e-mail re: issues list (.3);
                      review revised RSA and comments, follow-up
                      re: same (.5); prepare for and tc with D.
                      Lowenthal and J. Tecce, follow-up re: same
                      (.6); prepare for and tc with BRG, follow-up re:
                      same (1.1); attention to revised PSA and
                      follow-up re: same (.5).



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6/13/16      CWD E-mails re draft settlement agreement (.6);              2.30     $1,552.50
                   reviewing mark-ups of same, OC D. Lowenthal
                   and B. Guiney re same (.4); call w/BRG re
                   NNCC recovery issues, OC D. Lowenthal and
                   B. Guiney re same (1.3).
6/13/16      DAL Analyze PSA and send to J. Heaney with                   1.80     $1,746.00
                  comments (.6); Tc M. Riela re same (.2); Tc F.
                  Hodara re same (.1); Tc J. Tecce, D. Holzman,
                  and B. Guiney re status (.5); review updated
                  draft PSA (.4).
6/14/16      BPG Confer D. Lowenthal and C. Dent re: NNCC                 2.00     $1,480.00
                   recoveries and other issues, PSA, follow-up re:
                   same (1.1); reviewing revised agreement and
                   follow-up (.4); attention to e-mails with QE,
                   follow-up re: same, confer D. Lowenthal re:
                   same (.5); tc same re: same and follow-up (.3).
6/14/16      CWD Reviewing revised draft of PSA, OC D.                    1.20      $810.00
                  Lowenthal and B. Guiney re same (1.2).
6/14/16      DAL Emails with other IT counsel (.4); conf                  3.20     $3,104.00
                   colleagues re status (.7); email J. Tecce re
                   status (.1); PSA analysis (1.9); Tc D. Holzman
                   re status (.1).
6/14/16      DAL Review revised Plan and Disclosure Statement             0.60      $582.00
                   and Tax Matters Agreement (.4); conf
                   colleagues re status (.2).
6/1 5/16     BPG     Attention to e-mails re: PSA and confer D.           0.50      $370.00
                     Lowenthal re: same (.3); confer C. Dent re:
                     same (.1); review docket (.1).
6/15/16      CWD Reviewing docket, e-mails re revised 2019 (.1).          0.10       $67.50
6/15/16      DAL Memo to Jim Heaney re status (1.0); update E.            2.00     $1,940.00
                  Lamek and S. Miller re PSA status (.3); tc
                  counsel for BNYM and WT (.7).
6/16/16      BPG     Attention to e-mails pertaining to PSA (.2).         0.20      $148.00
6/16/16      CWD Reviewing SNMP response (.1); Committee                  1.40      $945.00
                  call, OC D. Lowenthal re holder issues (1.3).




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6/16/16        DAL Tc J. Tecce and D. Holzman re status (.3);              1.90     $1,843.00
                     weekly call and follow-up with C. Dent (1.3);
                     memo to J. Heaney re status (.3).
6/17/16        BPG Confer D. Lowenthal re: PSA, reviewing same,            2.50     $1,850.00
                     reviewing revised versions of PSA, prepare for
                     and tc with D. Lowenthal and J. Tecce re: PSA.
6/17/16        DAL Review PSA and tc with Tecce re same and                2.60     $2,522.00
                     next steps; review other parties' comments on
                     the PSA.
6/20/16        BPG     Begin compiling material for quarterly update       2.00     $1,480.00
                       (.6); reviewing e-mails relating to PSA and
                       revised versions of same; follow-up re: same
                       (1.1); attention to e-mails re: Quinn / BRG and
                       follow-up (.3).
6/20/16       CWD Reviewing docket (.1); reviewing NNSA and                0.40       $270.00
                   Canadian Debtors' comments to PSA, OC D.
                   Lowenthal and B. Guiney re same (.2).
6/20/16       DAL Emails with UCC professionals re NNCC                    1.10     $1,067.00
                    issues and potential call with Core Parties to
                    discuss PSA (.9); conf C. Dent (.2).
6/21/16       BPG Complete quarterly summary (1.8); OC D.                  2.60     $1,924.00
                    Lowenthal re: PSA, conversations with Quinn
                    (.3); attention to e-mails re: same, follow-up D.
                    Lowenthal and C. Dent re: same (.5).
6/21/16       DAL Review EMEA comments to PSA (.2); tc J.                  1.40     $1,358.00
                    Tecce re status; update B. Guiney (.2); memo
                    to J. Heaney (.9); emails with Akin re call with
                    other parties (.1).
6/22/16       CWD Reviewing docket (.1).                                   0.10        $67.50
6/22/16       DAL Tc J. Teece re status and next steps re Debtors          0.50       $485.00
                     and mediator (.3); email J. Heaney re same (.2).
6/23/16       BPG     Review materials for UCC call, prepare for and       2.60     $1,924.00
                      participate on same (.9); prepare for and
                      participate on call with Quinn and Akin,
                      follow-up with D. Lowenthal re: same (1.1);
                      confer C. Dent re: same and D. Lowenthal (for
                      part) (.6).




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6/23/16       CWD   Reviewing docket (.1); preparing for and              1.40       $945.00
                    participating in Committee call (.7); OC B.
                    Guiney re noteholder call, TC same and D.
                    Lowenthal re same (.6).
6/23/16       DAL   Tc with J. Tecce, Akin, and BRG re NNCC               2.20     $2,134.00
                    issues and follow-up with B. Guiney (1.0);
                    review and revise quarterly update (1.0); update
                    from B. Guiney and C. Dent (.2).
6/24/1 6      CWD   Emails re settlement/mediation discussions,           0.10        $67.50
                    reviewing docket (.1).
6/24/16       DAL   Quarterly update; leave detailed message for J.       1.30     $1,261.00
                    Farnan; email J. Tecce and D. Holzman; tc J.
                    Farnan re mediation of NNCC issues; follow-
                    up email to J. Tecce and D. Holzman; tc J.
                    Tecce and D. Holzman and follow-up vmail to
                    J. Farnan; email to J. Heaney.
6/26/16      DAL    Email S. Star (.1); work on fee statement (.2).       0.30       $291.00
6/28/16      BPG    Confer D. Lowenthal re: Dewey and follow-up           1.70     $1,258.00
                    (.3); attention to e-mails re: NDA and follow-
                    up (.3); confer D. Lowenthal and C. Dent re:
                    fee and expense issues, other mediation issues
                    and follow-up (1.1).
6/28/16      CWD    Reviewing docket and agenda for hearing (.3);         1.60     $1,080.00
                    e-mails re Dewey claims, TC D. Lowenthal re
                    same, OC same and B. Guiney re same (1.3).
6/28/16      DAL    Email from S. Star (.1); email J. Heaney re           1.00       $970.00
                    same (.2); tc B. Guiney re same (.2); work on
                    fee statement (.1); tc C. Dent and conf B.
                    Guiney and C. Dent re status (.4).
6/29/16      BPG    Attention to e-mails re: no-call, mediation, etc.     1.40     $1,036.00
                    (.5); follow-up C. re: same (.2); confer D.
                    Lowenthal re: same (.2); review materials for
                    weekly call (.5).
6/29/16      CWD    Emails and follow up re no call issues, TC D.         0.70       $472.50
                    Lowenthal re same (.7).




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6/29/16       DAL    Emails with J. Tecce and colleagues re no-call        1.10       $1,067.00
                     (.2); emails with J. Heaney re same (.3); Tc J.
                     Tecce re same (.2); Tc C. Dent re same and
                     request to send J. Tecce court papers (.2);
                     update B. Guiney (.2).
6/30/16       BPG    Attention to revised plan support agreement           0.50        $370.00
                     (.3);tc D. Lowenthal re: same and re: open
                     issues (.2).
6/30/16       CWD    Reviewing docket, e-mails re Dewey issues             1.60       $1,080.00
                     (.1); prepare for and participate in Committee
                     call, OC D. Lowenthal re same (.9); call
                     w/holders' counsel call re settlement issues and
                     call w/LawDeb re claim issues (.5); TC B.
                     Guiney re same (.1).
6/30/16       DAL    Weekly call (1.2); update B. Guiney (.2).             1.40       $1,358.00

                                                    Total Services       120.40      $90,752.00


               Daniel A Lowenthal         50.10    hours at $970.00 $48,597.00
               Brian P. Guiney            37.50    hours at $740.00 $27,750.00
               Craig W. Dent              15.80    hours at $675.00 $10,665.00
               Tamara Maduro              17.00    hours at $220.00 $3,740.00


                     Tvl. Transportation/Lodging                            224.02

                                                    Total Expenses                     $224.02


                                                    Total This Invoice               $90,976.02




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             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                           Invoice No. 856379
400 Madison Avenue                                                                August 4, 2016
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                  July 31, 2016 In Connection With The Following:


7/1/16           BPG      Attention to e-mails from R. Johnson, consider           1.00           $740.00
                          briefing issue (.4); review drafts (.6).
7/1/16           CWD      Reviewing docket (.1); e-mails re appellate              0.20           $135.00
                          briefs (.1).
7/5/16           BPG      Review materials related to appeal and follow-           0.40           $296.00
                          up re: same (.4).
7/5/16           CWD      E-mails re appeal briefs, reviewing same (.2);           0.30           $202.50
                          reviewing docket (.1).
7/5/16           DAL      Tc J. Tecce and E. Lamek re legal issues in              1.00           $970.00
                          Canada (.5); Tc E. Lamek re case settlement
                          issues (.3); additional follow-up re Canada with
                          E. Lamek and D. Holzman (.2).
7/6/16           CWD      E-mails re NNSA cross petition (.1).                     0.10            $67.50
7/7/16           CWD      Committee call, OC D. Lowenthal re same (.7).            0.70           $472.50
7/7/16           DAL      Weekly call and follow-up (1.5).                         1.50         $1,455.00
7/8/16           BPG      Confer D. Lowenthal re: inquiry from holders             0.70           $518.00
                          and follow-up (.2); review agenda and recently-
                          filed pleadings (.3); follow-up re: settlement
                          discussions (.2).
7/8/16          CWD       E-mails re trustee communications, OC D.                 0.30           $202.50
                          Lowenthal re same, reviewing docket (.1).




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7/11/16      BPG   Tc D. Lowenthal re: fee inquiry (.1); review          0.70      $518.00
                   revised NDA, side letter, follow-up re: same
                   (.6).
7/12/16      BPG   Review docket, attention to certain fee reports,      0.40      $296.00
                   follow-up re: status of settlement (.4).
7/12/16      CWD   E-mails re holder NDA and related side letter         0.10       $67.50
                   (.1).
7/13/16      BPG   Review e-mails pertaining to weekly call and          1.20      $888.00
                   potential settlement; TC D. Lowenthal and C.
                   Dent re: same; follow-up re: same.
7/13/16      CWD   E-mails re revised settlement agreement,              0.50      $337.50
                   reviewing same, TC D. Lowenthal and B.
                   Guiney re same (.5).
7/13/16      DAL   Tc F. Hodara re status (.2); update B. Guiney         0.50      $485.00
                   and C. Dent (.3).
7/14/16      CWD   Preparing for and participating in Committee          0.80      $540.00
                   call.
7/15/16      DAL   Tc J. Heaney re settlement status (.1).               0.10       $97.00
7/18/16      BPG   Follow-up D. Lowenthal re: status, settlement         0.20      $148.00
                   (.2).
7/18/16      CWD   Reviewing docket (.2).                                0.20      $135.00
7/19/16      BPG   Attention to BRG recovery scenarios and               0.50      $370.00
                   follow-up re: same (.5).
7/19/16      CWD   Reviewing Nortel recovery analysis (.1).              0.10       $67.50
7/20/16      BPG   Update S. Miller re: settlement (.1); check           0.20      $148.00
                   docket (.1).
7/21/16      BPG   Prepare for and participate on Committee call,        2.50     $1,850.00
                   follow-up re: same; reviewing docket; attention
                   to revised settlement agreement and committee
                   comments on same and follow-up; attention to
                   docket; follow-up C. Dent re: NNCC settlement
                   (2.5).
7/21/16      CWD   Preparing for and participating in Committee          0.80      $540.00
                   call.




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7/22/16       BPG     Confer D. Lowenthal re: settlement, other             0.20        $148.00
                      issues (.2).
7/25/16       BPG     Confer C. Dent re: settlement, follow-up (.3).        0.30        $222.00
7/25/16       CWD TC B. Guiney re settlement agreement (.1);                0.40        $270.00
                   reviewing Committee markup of settlement
                   agreement (.3).
7/27/16       BPG     Review revised settlement and follow-up (.6);         1.50       $1,110.00
                      review brief from M. Wunder (.9).
7/27/16       CWD E-mails re settlement agreement (.1); reviewing           0.30        $202.50
                    draft of UCC brief for leave to appeal to
                    Canadian Supreme Court, TC B. Guiney re
                    same (.1).
7/28/16       BPG     Review materials circulated in advance of             0.80        $592.00
                      weekly call (.6); attention to C. Dent summary
                      and follow-up (.2).
7/28/16       CWD Preparing for and participating in Committee              0.50        $337.50
                    call (.5).
7/28/16       DAL Email J. Tecce (.1); email from C. Dent re                0.30        $291.00
                    update (.1); email from F. Hodara (.1).
7/29/16       BPG     Attention to US Debtors' Canadian submission          0.50        $370.00
                      (.5).

                                                      Total Services       19.80      $15,089.50


               Daniel A Lowenthal           3.40 hours at       $970.00 $3,298.00
               Brian P. Guiney             11.10 hours at       $740.00 $8,214.00
               Craig W. Dent                5.30 hours at       $675.00 $3,577.50


                      Outside Professional Services                          374.00
                      Reproduction                                             3.90

                                                      Total Expenses                    $377.90


                                                      Total This Invoice              $15,46744




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                     Patterson Belknap Webb & Tyler LLP
            1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 1002737
400 Madison Avenue                                                                September 21, 2016
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                CONFIDENTIAL ATTORNEY WORK PRODUCT

                            For Professional Services Rendered For The Period Ending
                              August 31, 2016 In Connection With The Following:


08/01/16 DAL Status with B. Guiney (.2).                                                        0.20          $194.00
08/01/16 BPG Confer D. Lowenthal re: status (.2); attention to briefs filed in                  0.60          $444.00
             CA (.4).
08/02/16 DAL Tc J. Tecce re settlement terms (.1).                                              0.10           $97.00
08/03/16 DAL Review updated term sheet (.2).                                                    0.20          $194.00
08/03/16 BPG Confer D. Lowenthal re: his call with J. Tecce, follow-up re:                      1.40         $1,036.00
             same (.4); review docket, attention to case calendar (.2); review
             revised settlement, follow-up re: same (.8).
08/04/16 DAL Weekly call and follow-up (1.0).                                                   1.00          $970.00
08/04/16 BPG Attention to e-mail from D. Lowenthal re: UCC meeting,                             0.50          $370.00
             review materials circulated i/c/w same (.5).
08/05/16 DAL Review revised term sheet and memo to J. Heaney re same;                           3.30         $3,201.00
             emails with J. Heaney; email term sheet and update to E. Lamek
             and S. Miller; review Canadian appeal papers; Tc M. Riela re
             term sheet (3.3).
08/05/16 BPG Attention to e-mails re: settlement (.2).                                          0.20          $148.00
08/05/16 CWD E-mails re settlement agreement and fees (.1).                                     0.10           $67.50
08/08/16 DAL Status with B. Guiney (0.3).                                                       0.30          $291.00
08/08/16 BPG  Confer C. Dent re: current status (.2); confer D. Lowenthal re:                   0.50          $370.00
              status and next steps, follow-up re: same (.3).
08/08/1 6 CWD Reviewing docket (.1).                                                            0.10           $67.50
08/09/16 DAL Work on PSA issues (1.8); email to J. Heaney re same (.1); Tc                      2.40         $2,328.00
             F. Hodara re PSA (.2); Tc E. Lamek re PSA issues (.3).



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08/09/16 BPG    Reviewing and marking up settlement document (1.1); multiple        2.00       $1,480.00
                TCs and e-mails re: same with D. Lowenthal and C. Dent (.3);
                confer D. Lowenthal re: fees and circulate fee chart (.4);
                attention to Third Circuit opinion (.2).
08/09/16 CWD OC D. Lowenthal re settlement agreement and related issues             0.30        $202.50
             (.2).; reviewing docket (.1).
08/10/16 DAL Emails with E. Lamek re extension of time in Canada (.3); Tc           2.90       $2,813.00
             Indenture Trustee counsel (.7); emails with Akin re extension of
             time in Canada (.1); analyze PSA (1.8).
08/10/16 BPG    Prepare for and OC with D. Lowenthal and C. Dent re: SPSA,          2.50       $1,850.00
                follow-up re: same (1.0); revise SPSA and follow-up (1.5).
08/10/16 CWD Reviewing revised version of Settlement and Plans Support              1.60       $1,080.00
             Agreement, OC D. Lowenthal and B. Guiney re same (1.6).
08/11/16 DAL Revisions to PSA and send to J. Heaney (1.0); weekly call and          2.00       $1,940.00
             follow-up (1.0).
08/11/16 BPG    Preparing for call, incl. TCs with D. Lowenthal and C. Dent         2.50       $1,850.00
                (1.0); participate on UCC call and follow-up re: same (1.0); tc
                with D. Holzman re: settlement, follow-up D. Lowenthal re:
                same, e-mail J. Heaney re: same (.5).
08/11/16 CWD Reviewing mark-up of Settlement and Plans Support                      2.20       $1,485.00
             Agreement, e-mails re same, TC D. Lowenthal and B. Guiney re
             same (.3); reviewing BRG presentation re recovery scenarios,
             TC D. Lowenthal and B. Guiney re same (.4); Committee call,
             OC D. Lowenthal and B. Guiney re same (.9); reviewing docket
             (.2); call w/Quinn re settlement issues, TC B. Guiney re same
             (.4).
08/12/16 DAL Emails with E. Lamek re SPSA (.1); Tc A. Cowie of BRG re               0.90        $873.00
             SPSA issues (.6); leave detailed message for Dewey's
             representative (.1); email M. Riela (.1).
08/12/16 BPG    Update J. Heaney re: call with Quinn (.1).                          0.10         $74.00
08/12/16 CWD Reviewing docket (.2).                                                 0.20        $135.00
08/15/16 DAL Review and revise SPSA, emails with, J. Heaney re same and             3.70       $3,589.00
             send comments to multiple parties, Tc B. Guiney re same, email
             M. Riela re his language; email from J. Bromley, review M.
             Riela's draft; review follow-up email from M. Riela (3.7).
08/15/16 BPG    Revising comments to SPSA, follow-up re: same, attention to e-      1.50       $1,110.00
                mails re: same, confer D. Lowenthal re: same; review proposed
                response from M. Riela; attention to additional e-mails re: same
                (1.5).
08/15/16 CWD E-mails re comments to SPSA, reviewing docket (.2).                    0.20        $135.00



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08/16/16 DAL Tc with M. Riela, email J. Heaney re same and SPSA, Tc J.            2.80        $2,716.00
               Heaney re same (1.0); emails with J. Heaney (.1); email ad
               hocs' counsel re comments to SPSA (.1); leave detailed
               message for D. Holzman re comments to SPSA (.1); email BRG
               re recovery presentations (1.4); Tc C. Dent re same (.1); Tc D.
               Holzman re comments to PSPA (.2); email J. Heaney re same.
08/16/16 BPG Confer D. Lowenthal re: settlement, attention to e-mails re:         0.50          $370.00
              same, review and revise draft e-mail (.5).
08/16/16 CWD E-mails re SPSA, reviewing docket, TC D. Lowenthal re same           0.60          $405.00
              (.2); e-mails re recovery scenarios and related issues (.4).
08/17/16 DAL Email J. Heaney re SPSA update, and revise email to BRG re           1.40        $1,358.00
               recovery scenarios; follow-up emails with Aldn and BRG (1.4).
08/17/16 CWD E-mails re recovery issues (.1).                                     0.10           $67.50
08/18/16 DAL Tc B. Guiney re status; email NNCC holders' comments to              0.20         $194.00
               Cleary.
08/18/16 CWD Reviewing docket (.1).                                               0.10           $67.50
08/24/16 CWD Reviewing docket (.1).                                               0.10           $67.50
08/25/16 DAL Weekly call and follow-up with F. Hodara (.7).                       0.70         $679.00
08/25/16 CWD TC D. Lowenthal re SPSA (.1); Committee call, OC D.                  0.70         $472.50
               Lowenthal re same (.6).
08/26/16 DAL Review updated draft agreement and email colleagues re same          0.30         $291.00
              (.3).
08/26/16 CWD Reviewing SPSA mark-up, e-mails re same (.5).                        0.50         $337.50
08/29/16 DAL Work on settlement agreement, Tc with M. Riela, email J.             2.80        $2,716.00
               Heaney; email from A. LeBlanc (2.8).
08/29/16 BPG Review revised SPSA and e-mails re: same (.6)                        0.60         $444.00
08/29/16 CWD E-mails re revised SPSA, OC D. Lowenthal re same, reviewing          0.40         $270.00
              same, e-mails re BNY issues (.4).
08/30/16 DAL Review UCC comments to SPSA (.2).                                    0.20         $194.00
08/30/16 CWD Reviewing UCC comments to SPSA (.1).                                 0.10           $67.50
08/31/16 DAL Tc S. Miller re status and email T. Goren re same (.1).              0.10          $97.00
08/31/16 CWD TC D. Lowenthal re SPSA issues (.2).                                 0.20         $135.00
                                                 Total Services                  45.90       $39,343.50




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               Daniel A. Lowenthal        25.50 hours at     $970.00        $24,735.00
               Brian P. Guiney            12.90 hours at     $740.00         $9,546.00
               Craig W. Dent               7.50 hours at     $675.00         $5,062.50
                                              Total Expenses                                   $0.00
                                              Total This Invoice                          139.14.151)




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                           Patterson Belknap Webb a Tyler lir
             1133     ue 01 the MOM* NOW York. NY 100364710 212330,2000 its 2123362222




Law Debenture Trust Company of New York                                              Invoice No. 1003987
400 Madison Avenue                                                                   October 24, 2016
New York, NY 10017                                                                   FEI No. XX-XXXXXXX

Re: NORTEL                                                                           L0353-000007



                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                            September 30, 2016 In Connection With The Following:



09/01/16 DAL        Emails with Cleary and Akin re SPSA (.5); weekly call and                     1.60     $1,552.00
                    follow-up with S. Miller, D. Botter, and E. Lamek (1.6).
09/01/16 CWD E-mails re SPSA revisions (.1); Committee call, OC D.                                0.50      $337.50
             Lowenthal re same (.4).
09/05/16 BPG        Review revised SPSA and follow-up (1.0)                                       1.00      $740.00
09/06/16 DAL        Review updated SPSA, emails with S. Miller and E. Lamek, Tc                   3.40     $3,298.00
                    S Miller re status, Tc D. Botter re same.
09/06/16 BPG        Confer C. Dent re: Nortel SPSA (.2); follow-up D. Lowenthal                   0.90      $666.00
                    re: Nortel and confer re: appeal (.3); follow-up re: same, tc S.
                    Miller re: same and compose e-mail to Clerk of Court (.4).
09/06/16 CWD OC B. Guiney re SPSA and related issues, reviewing docket                            0.20      $135.00
             (.2).
09/07/16 DAL        Tc E. Lamek re status; emails with B. Guiney re Third Circuit                 1.20     $1,164.00
                    conference (.8); update on same from B. Guiney and PBGC
                    counsel issues (.4); Tc J. Heaney re same (.2).
09/07/16 BPG        Travel to, attend and return from Court conference, follow-up                 7.40     $5,476.00
                    re: same; tc D. Lowenthal re: same and re: waiver request;
                    prepare update re: Court conference (7.4).
09/08/16 DAL        Review and revise status report on Third Circuit conference                   1.80     $1,746.00
                    (1.0); weekly call and follow-up Tc with Akin (.8)
09/08/16 BPG        Review revised SPSA and follow-up (.4); follow-up S. Miller                   1.60     $1,184.00
                    re: conference (.1); confer D. Lowenthal re: summary and revise
                    same (.2); attention to materials for UCC call and follow-up
                    (.1); participate on same and follow-up TC with D. Botter and
                    D. Lowenthal (.8).




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09/08/16 CWD Preparing for and participating in Committee call, OC D.                  0.80        $540.00
             Lowenthal and B. Guiney re PBGC issues, TC Akin re same
             (.8).
09/09/16 DAL    Review draft waiver letter and email Law Debenture (.3);               1.60       $1,552.00
                review updated draft SPSA and emails to Quinn re revision that
                might not reflect their deal (.6); follow up on SPSA with Quinn
                (.5); follow-up work re Milbank issue (.2).
09/09/16 BPG    Review revised SPSA and attention to e-mails re: same (.5);            1.00        $740.00
                confer D. Lowenthal re: same (.2); begin compiling materials
                for quarterly update (.3).
09/09/16 CWD E-mails re SPSA revisions and related issues (.2).                        0.20        $135.00
09/12/16 DAL    Send updated SPSA to Quinn, S. Miller, and E. Lamek (.2).              0.20        $194.00
09/12/16 BPG    Review revised SPSA (.4).                                              0.40        $296.00
09/12/16 CWD Reviewing SPSA mark-up (.7).                                              0.70        $472.50
09/13/16 DAL    Emails with J. Heaney re distribution issues (.1); email with J.       0.60        $582.00
                Bromley re same (.1); Tc S. Star re case issues (.2); Tc J.
                Heaney re same (.2).
09/13/16 BPG    Review e-mails re: distribution waterfall and follow-up re: same       0.40        $296.00
                (.2); attention to docket and case calendar (.2).
09/14/16 DAL    Email SPSA issue update to E. Lamek and S. Miller (.4).                0.40        $388.00
09/14/16 BPG    Draft, finalize and circulate quarterly update (1.9); attention to     2.40       $1,776.00
                revised settlement agreement, e-mails re: same (.5).
09/14/1 6 CWD Reviewing SPSA markup, e-mails re same (.2).                             0.20        $135.00
09/15/16 DAL    Prepare for and participate in weekly call (1.0).                      1.00        $970.00
09/15/16 BPG    Review materials for UCC call, prepare for and participate on          2.10       $1,554.00
                same, follow-up D. Lowenthal re: same, finalize and circulate
                quarterly update.
09/15/16 CWD Committee call, OC D. Lowenthal and B. Guiney re same (.5);               0.60        $405.00
             reviewing docket (.1).
09/20/16 BPG    Attention to sub con / settlement issues, research re: same,           1.30        $962.00
                follow-up D. Lowenthal re: same (.9); attention to summary of
                motion in Canadian court and follow-up (.4).
09/20/16 CWD Reviewing docket, e-mails re Canadian claims (.1).                        0.10         $67.50
09/21/16 DAL    Work on billing (.3).                                                  0.30        $291.00
09/21/16 BPG    Review docket and review CCAA pleadings (.2).                          0.20        $148.00
09/21/16 CWD Reviewing docket, e-mail to managing clerk re same (.2).                  0.20        $135.00



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09/22/16 DAL Prepare for and participate in weekly call (.6); draft and finalize        2.50        $2,425.00
               quarterly update to client (.8); attention to settlement execution,
               including Tc J. Heaney and Tc Akin re same. (.9).
09/22/16 BPG Prepare for and participate on weekly call, follow-up re: same             2.40        $1,776.00
               (.6); review revised SPSA, tc B. Kahn re: same and follow-up
               (.5); confer D. Lowenthal re update and follow-up (.2); tc D.
               Botter and B. Kahn re: PBGC and appeal issues, follow-up D.
               Lowenthal and C. Dent re: same, tc D. Botter and B. Kahn re:
               SPSA (1.1).
09/22/16 CWD TC D. Lowenthal and M. Riela re SPSA issues, OC same and B.                1.00         $675.00
              Guiney re same, TC Akin re same (1.0).
09/23/16 DAL Work on settlement, including UCC call (1.0).                              1.00         $970.00
09/23/16 CWD Preparing for and participating in Committee call (2.0);                   2.10        $1,417.50
              reviewing docket (.1).
09/27/16 CWD Reviewing SPSA mark-up, reviewing docket (.1).                             0.10          $67.50
09/28/16 DAL Review PBGC statement (.2).                                                0.20         $194.00
09/28/16 CWD Reviewing docket (.1).                                                     0.10          $67.50
09/29/16 DAL Weekly call and follow-up; emails with J. Heaney re                        1.30        $1,261.00
              engagement letter; review same.
09/29/16 BPG Review materials for call, participate on same, follow-up re:              1.10         $814.00
              same (1.0); attention to e-mail re: settlement and follow-up (.1).
09/29/16 CWD Reviewing PBGC appeal summary (.1); e-mails re hearing                     1.00         $675.00
              calendar, reviewing docket re same (.2); reviewing SPSA mark-
              up, e-mails re same (.2); Committee call (.5).
09/30/16 BPG Review docket, attention to e-mails re: SPSA, attention to                 0.80         $592.00
               emails re: CCAA (.8).
                                                    Total Services                     47.90      $38,872.00

              Daniel A Lowenthal                17.10 hours at       $970.00         $16,587.00
              Brian P. Guiney                   23.00 hours at       $740.00         $17,020.00
              Craig W. Dent                      7.80 hours at       $675.00          $5,265.00

              Travel - Transportation/Lodging                                          $214.72
                                                    Total Expenses                                  $214.72

                                                    Total This Invoice                            $39,086.72




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                        Patterson Belknap Webb a~ Tyler                                                 LLP


             1 133 Avenue of the Americas   New York, NY 10036-6710   212.336.2000   fax 212.336.2222   www.pbwt.com

Delaware Trust Company                                                                     Invoice No. 1013001
2711 Centerville Road                                                                      January 18, 2017
Wilmington, DE 19808                                                                       FEI No. XX-XXXXXXX

Re: NORTEL                                                                                 D 1584-000002



                                    CONFIDENTIAL ATTORNEY WORK PRODUCT

                                For Professional Services Rendered For The Period Ending
                                 December 31, 2016 In Connection With The Following:


12/06/16 DAL Conf B. Guiney re status, email T. Musarra and J. Heaney, and                                    0.50      $485.00
             Tc S. Miller re same (.5).
12/06/16 BPG           Attention to docket (.1); review and revise NDA,follow-up D.                           0.70      $518.00
                       Lowenthal re: same, confer C. Dent re: same (.6).
12/06/16 CWD Reviewing docket, e-mails re NDA and DTC engagement letter,                                      0.20      $135.00
             follow up re same (.2).
12/07/16 DAL Emails with T. Musarra and S. Horwitz; emails with S. Miller                                     4.80     $4,656.00
              and E. Lamek; tc with D. Botter; tc with B. Guiney; emails with
              Akin and S. Horwitz re Committee roster; and emails with T.
              Musarra re transfer of claim (2.3); review draft note to holders
              and send to S. Horwitz,joint letter to Third Circuit and emails
              with S. Horwitz re: same, obtain and send UCC By Laws for S.
              Horwitz and,. complete monthly report and send to S. Horwitz
             (2.3); emails with E. Lamek re: issue concerning Monitor (.2).
12/07/16 BPG           Work on notice to holders, follow-up re: engagement letter and                         3.40     $2,516.00
                       review same, complete template for DTC,consider open issues
                       in connection with transfer, multiple TCs and e-mails with D.
                       Lowenthal and C. Dent re: transfer and related issues.
12/07/16 CWD Reviewing docket(.1); reviewing NDA mark-up and revising                                         1.90     $1,282.50
             same (.3); drafting Delaware Trust engagement letter, OC D.
             Lowenthal re same, e-mails re same (1.5).
12/08/16 DAL Review NTCC arguments re Plan (.2); tc S. Horwitz re case                                        1.80     $1,746.00
             issues (.3); emails with Akin (.2); emails with Akin and S.
             Horwitz re TCC motion to vacate (.2); prepare for and
             participate in weekly call (9).




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                                                                              January 18, 2017
                                                                              D1584-000002

  12/08/16 BPG      Reviewing materials for UCC call, confer C. Dent re:                  2.50      $1,850.00
                    engagement letter and other materials, review recently-filed
                    pleadings (1.4); participate on committee call and follow-up
                   (.7); attention to e-mails, follow-up re: engagement letter (.4).
  12/08/16 CWD Reviewing docket(.1); e-mails re Canadian claims issues (.1).              0.20       $135.00

  12/09/16 DAL Revise letter, emails with S. Horwitz re same, and tc's with S.            1.70      $1,649.00
               Miller re same (1.7).
  12/09/16 BPG Confer D. Lowenthal re: open issues, attention to e-mails,                 0.50       $370.00
               attention to revised NDA (.5).
  12/09/16 CWD Reviewing docket and e-mails re holder NDA mark-up, and                    0.10        $67.50
               reviewing same (.1).
  12/12/16 BPG      Tc D. Lowenthal re: NDA and follow up (.6).                           0.60       $444.00

  12/12/16 CWD Reviewing docket (.1).                                                     0.10        $67.50

  12/13/16 DAL Review letters to the Court re discovery from the US Debtors,              2.30      $2,231.00
                the PBGC,and the NTCC (.2); attend by phone Court
                conference re Plan discovery and send report re same to S.
                Horwitz(2.1).
  12/13/16 BPG Review discovery dispute letters (.8); attention to revised                2.20      $1,628.00
~               response to TCC pleadings (.2); attention to e-mails re: hearing
               (.1); confer C. Dent re: NDA (.1); coordinate with accounting
                re: invoices (.4); reviewing responses to TCC motion (.6).
  12/13/16 CWD Reviewing docket and TC B. Guiney re NDA mark-up (.2).                     0.20       $135.00

  12/14/16 CWD Reviewing docket (.1).                                                     0.10        $67.50

  12/15/16 DAL Emails with S. Horwitz re upcoming mediation (.1); review                  2.50      $2,425.00
               confirmation timeline and Third Circuit statement on appeal
               timing (.7); tc M. Riela re mediation (.1); tcs with Akin and
               other UCC members re upcoming mediation, confirmation
               issues, etc, and related follow-up with S. Horwitz(1.3); emails
               with C. Kearns and S. Horwitz re Plan recovery analysis (.3).
  12/1 S/1 h BPG    Attention to e-mails (.2).                                            0.20       $148.00

  12/16/16 DAL Review SPSA 9019 motion and send to S. Horwitz(1.4); review                2.90      $2,813.00
               Court hearing agenda and emails with S. Miller re same (.2); B.
               Guiney and C. Dent(.3); follow-up with S. Horwitz re NDA
               and emails from Quinn and B. Guiney (1.0).
  12/16/16 BPG     OC with D. Lowenthal and C. Dent re: all open issues,                  2.20      $1,628.00
                   confirmation schedule; reviewing correspondence re: same
                   (1.2); follow-up re: invoices and NDA,confer D. Lowenthal re:
                   same (1.0).




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                                                                           D1584-000002

12/16/16 CWD Reviewing docket(.1); OC D. Lowenthal and B. Guiney re                      0.30        $202.50
             mediation and confirmation issues (.2).
12/19/16 DAL Review multiple Court filings re TCC motion for                             1.80       $1,746.00
             reconsideration (1.8).
12/19/16 BPG    Diligence pertaining to holder inquiry.                                  3.30       $2,442.00
12/19/16 CWD E-mails re NDA,OC B. Guiney re same, reviewing docket (.1).                 0.10         $67.50
12/20/16 DAL Attend Court hearing and mediation (8.0).                                   8.00       $7,760.00
12/20/16 BPG    Tc R. Schmidt re: case status (.2); follow-up D. Lowenthal re:           4.40       $3,256.00
                same (.1); attention to e-mails re: settlement and related
                materials (.7); follow-up D. Lowenthal and C. Dent re: same
               (.2); diligence pertaining to holder inquiry (3.2)
12/20/16 CWD Reviewing docket, e-mails re mediation (.1).                                0.10         $67.50
12/21/16 BPG    Attention to e-mails re: status, possible resolution, follow-up re:      1.30        $962.00
                same (.5); finalize delivery to noteholders and confer D.
                Lowenthal re: same (.8)
12/21/16 CWD E-mails re PBGC settlement, OC B. Guiney re invoices (.1);                  0.20        $135.00
             reviewing docket (.1).
12/22/16 BPG    Review materials for UCC call and confer C. Dent(.4);                    1.90       $1,406.00
                participate on same (.6); follow-up e-mails re: same (.2);
                attention to delivery to noteholders (.5); consider inquiry from
                D. Holzman re: voting and follow-up re: same (.2)
12/22/16 CWD Reviewing docket (.1).                                                      0.10         $67.50
12/27/16 CWD Reviewing docket (.1).                                                      0.10         $67.50
12/29/16 BPG    Attention to docket, attention to 9019 and follow-up re: PBGC            0.90        $666.00
                settlement issues (.9).
12/29/16 CWD Reviewing docket, e-mails re hearing calendar with managing                 0.10         $67.50
             clerk (.1).
12/30/16 BPG    Multiple TCs with D. Lowenthal re: status, attention to e-mails          1.00        $740.00
                re: same, attention to docket.
                                                    Total Services                      55.20      $46,650.00

             Daniel A Lowenthal               ?_6.30 hours at        $970.00          $25,511.00
             Brian P. Guiney                  25.10 hours at         $740.00          $18,574.00
             Craig W. Dent                     3.80 hours at         $675.00           $2,565.00
                                                   Total Expenses                                      $0.00

                                                   Total This Invoice                              46 650.00




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                       Patterson Belknap Webb 8~ Tyler                                                 LLP


            1 133 Avenue of the Americas   New York, NY 10036-6710   212.336.2000   fax 212.336.2222   www.pbwt.com

Law Debenture Trust Company of New York                                                    Invoice No. ~ 013007
400 l~~tadison Avenue                                                                      January 18, 2017
New York, NY 10017                                                                         FEI No. XX-XXXXXXX

Re: N(JRTEL                                                                                L0353-000007



                                    CONFIDENTIAL ATTORNEY WORK PRODUCT'

                                For Professional Services Rendered For The Period Ending
                                 December 31, 2016 In Connection With The Following:



12/01/16 SAL Prepare for and attend DS hearing in Delaware and related                                       5.30     $5,141.00
             follow-up, including memo to J. Heaney conf v~~ith B. Bitter
             and K. Kearns (5.0); tc S. Miller re hearing (.3).
12/01/16 CWD Reviewing docket, e-mails with managing clerk re hearing                                        0.60      $405.00
             calendar (.3); e-mails re NTCC subpoenas, reviewing same (.1);
             e-mails re DS hearing, OC D. Lowenthal re same (.2).
12/0?/lE ll~L Update with B. Guiney (.2); review papers filed for hearing and                                3.10     $3,007.00
              attend same by phone and related tc with Akin and UCC (2.9).
12/Q2/lt~ BPG         Prepare for and participate on UCC call, follo~N-up re: same,                          2.60     $1,924.00
                      prepare for hearing Qn PBGC issues and follow-up (2.6).
12/0?/16 C'WD Reviewing docket, e-mails w/managing clerk re Plan deadlines                                   0.30      $202.50
              ~•3)•
12/05/16 DAL Court hearing by phone and memo to J. Heaney re same (.5);                                      1.40     $1,358.OU
              emails with E. Lamek re engagement letter (.2); tc J. Heaney re
              case issues (.1); tc T. Musarra re case issues (.1); conf B.
              Uuiney re same, including upcoming discovery (.2); review E.
              Larnek engagement letter and em~ils wit~i J. Heaney and E.
              Lamek re same (.3).
12/05/1 E BPG          Draft NDA {Lti); confer D. Lowenthal re: all open issues (.3).                        1.90     $1,406.00
12/05;Z6 L WD Reviewing dockzt (.1); ~evievaing and revising NDA,OC B.                                       1.00      $675.01
              Gainey re sarne (.9).




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                                                                        January 18, 2017
                                                                        L0353-000007


                                                  Total Services                  16.20       $14,118.50

             Daniel A Lowenthal                9.80 hours at       $970.00       $9,506.00
             Brian P. Guiney                   4.50 hours at       $740.00       $3,330.00
             Craig W. Dent                     1.90 hours at       $675.00       $1,282.50

             Local Travel &Fares                                                  $111.79
             Reproduction                                                          $22.95
             Travel - Transportation/Lodging                                       589.00
                                                  Total Expenses                                $723.74

                                                  Total This Invoice                          14 842.24




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                         Patterson Belknap Webb &Tyler                                                  LLP


              1133 Avenue of the Americas   New York, NY 10036-6710   212.336.2000   fax 212.336.2222   www.pbwt.com

Law Debenture Trust Company of New York                                                    Invoice No. 1009664
400 Madison Avenue                                                                         December 8, 2016
New York, NY 10017                                                                         FEI No. XX-XXXXXXX

Re: NORTEL                                                                                 L0353-000007




                                For Professional Services Rendered For The Period Ending
                                 November 30,2016 In Connection With The Following:



1 1/01/16 DAL Review updated Plan and DS received from Cleary (.5);                                           2.40     $2,328.00
              analysis re distribution issues (.3); review further updated
              proposed language to Plan and DS received from Cleary, email
              same to Law Debenture, tc T. Musarra, and tc B. Guiney (1.2);
              tc S. Star re status (.4).
1 1/O 1/16 BPG         Confer D. Lowenthal re: changes to DS and Plan, other open                             2.00     $1,480.00
                       issues (.3); OC same re: same and next steps (.5); e-mails with
                       Debtors' counsel re: Plan and Disclosure Statement, follow-up
                       re: same, reviewing proposed revisions to plan and TC P.
                       Cantwell re: same (.7); OC D. Lowenthal re: calls with T.
                       Musarra and S. Starr (.5).
1 1/02/16 DAL Work on distribution issues re Plan and DS,including emails to                                  4.00     $3,880.00
              Cleary and Akin re status (3.1); L. Schweitzer and B. Guiney
             (.7).
1 1/02/16 BPG          Multiple TCs and e-mails pertaining to distribution mechanics                          2.30     $1,702.00
                       and requests from holders, follow-up re: same (1.3); tc C. Dent
                       re: same (.2); reviewing Indenture and tri-partite agreement (.4);
                       e-mails with Akin re: plan documents (.1); review Committee
                       letter and follow-up re: same, consider alternatives (.3).
1 1/03/16 DAL Plan and Disclosure Statement -Review master ballots and                                        2.50     $2,425.00
              comments; send same to J. Heaney (2.5).
1 1/03/16 BPG          Review ballots and comment on same (1.1); review PBGC                                  3.30     $2,442.00
                       objection (.4); review revised US Plan and DS (.5); review
                       Canadian plan (.3); OC D. Lowenthal re: status and next steps
                      (.7); review revised ballots and follow-up (.3).




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1 1/04/16 DAL Review updated Plan and DS,and Tc B. Guiney re status of US            2.00       $1,940.00
              Plan and Disclosure Statement(1.8); review updated Committee
              letter and send correction to Akin (.2).
1 1/04/16 BPG  Confer D. Lowenthal re: open issues (.2); reviewing revised           1.70       $1,258.00
               Plan and DS,follow-up re: same (1.1); reviewing
               correspondence from holders and confer D. Lowenthal re: same
              (.4).
1 1/07/16 DAL Tc S Miller re Plan and Disclosure Statement (.3).                     0.30        $291.00
1 1/07/16 BPG   Confer D. Lowenthal re: case status, charting response to letter     1.20        $888.00
                from holders and follow-up re: same (1.2)
1 1/07/16 CWD Reviewing docket (.1).                                                 0.10         $67.50
1 1/08/16 DAL Tc M. Riela re Indenture Trustee issues in Canadian Plan (.2);         2.30       $2,231.00
              Tc B. Guiney re status and (.5); emails with counsel for BNYM
              and Wilmington Trust re call to discuss Canadian Plan issues
              that impact Indenture Trustees (.5); prepare for and participate
              in tc with Law Debenture and B. Guiney re status (1.1).
1 1/08/16 BPG   Work on response to 11/5 letter (2.2); OC D. Lowenthal re:           3.20       $2,368.00
                same (incl. TC with client)(.6); confer C. Dent re: same and re:
                open issues (.4)
1 1/08/16 CWD OC B. Guiney re holder communications (.2); reviewing docket           0.30        $202.50
             (.1).
1 1/09/l 6 DAL Conf. T. Musarra re status (.1); work on fee statement (.2);          1.40       $1,358.00
               review language proposed by BNYM for Canadian Plan, tc with
               Indenture Trustees' counsel(BNYM and Wilmington Trust) re
               same and next steps, and related follow-up (1.1).
1 1/09/16 BPG   Prepare for and call with trustees re: Canadian Plan issues (.7);    1.60       $1,184.00
                tc with B. Schmidt re: holder inquires, follow-up D. Lowenthal
                re: same (.5); confer D. Lowenthal re: open issues (.4).
1 1/09/16 CWD Reviewing docket (.2).                                                 0.20        $135.00
1 1/10/16 DAL Tc with B. Guiney re update on case issues (.2); tc B. Schmidt         4.50       $4,365.00
              re holder issues (.4); draft letter (3.9).
1 1/10/16 BPG Prepare for, participate on UCC calls, follow-up re: same (.8);        1.30        $962.00
              confer D. Lowenthal re: Canadian Plan issues, follow-up re:
              response to J. Tecce (.5).
1 1/10/16 CWD Emails re Canadian Plan releases (.1); reviewing docket, TC B.         0.30        $202.50
              Guiney re PBGC briefing schedule (.2).




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1 1/11/16 DAL Draft letter, conf to B. Guiney re same, and send to client (3.9);    5.00       $4,850.00
              email J. Tecce (.1); tc with counsel for the bondholders and
              Indenture Trustees re Canadian Plan issues (1.0).
1 1/11/16 BPG Review and revise letter holders (1.6); OC D. Lowenthal re:           3.10       $2,294.00
              same and further revisions to same (1.5)
11/11/16 CWD OC B. Guiney re holder response, reviewing and revising draft          1.50       $1,012.50
              ofsame (1.2); reviewing docket(.1); reviewing analysis of
              PBGC claims (.2).
1 1/14/16 DAL Draft letter (1.3); emails with T. Musarra re same (.1); emails       2.30       $2,231.00
              with S. Miller and E. Lamek re same (.2); review motion papers
              in Canada re stay of appeal and multiple emails re same (.7).
1 1/14/16 BPG Review materials on appeal in Canada and follow-up (.3);              1.50       $1,110.00
              revising letter to holders (.5); confer D. Lowenthal re: same and
              re: next steps, finalize same and circulate (.5); attention to DS
              scheduling issues (.2).
1 1/14/16 CWD OC B. Guiney re holder communications and response letter,            0.30        $202.50
              reviewing same (.2); reviewing docket, e-mails re hearing
              calendar/objection deadlines re PBGC claim (.1).
1 1/15/16 DAL Email from L. Schweitzer re DS addition and send same to Law          0.40        $388.00
              Deb, S. Miller, and E. Lamek and review same with B. Guiney
              and C. Dent(.4).
1 1/15/16 BPG Confer D. Lowenthal re: status, attention to docket(.4);              0.50        $370.00
              attention to e-mail re: DS (.1).
1 1/15/16 CWD Reviewing docket (.1); e-mails re DS language, TC D.                  0.50        $337.50
              Lowenthal and B. Guiney re same (.4).
1 1/16/16 DAL Work on revisions to Disclosure Statement, including tc with B.       0.90        $873.00
              Guiney and C. Dent and emails with S. Miller (.9).
1 1/16/16 BPG Work on DS language (.5); tc D. Lowenthal and C. Dent re:             2.20       $1,628.00
              same (.5); tc S. Miller re: same, draft e-mail to L. Schweitzer re:
              same and follow-up (.6); confer D. Lowenthal re: same and
              follow-up, tc R. Schmidt re: status, follow-up re: same (.6).
1 1/16/16 CWD E-mails re DS language, reviewing same, OC B. Guiney re               1.00        $675.00
              same and TC D. Lowenthal re same (.9); reviewing docket (.1).
1 1/17/16 DAL Work on revisions to Disclosure Statement (.5); multiple emails       1.50       $1,455.00
              from L. Schweitzer and D. Holzman re comments to the
              Disclosure Statement and revisions to same (1.0).
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1 1/17/16 BPG    Review PBGC memo (.9); and prepare for, participate on UCC          3.80      $2,812.00
                 call and follow-up call, e-mails to J. Heaney re: same (1.3);
                 review revised DS language and follow-up (.3); additional
                 follow-up re: same (.4); multiple TCs and e-mails re: revised
                 DS language (.9).
1 1/17/16 CWD Reviewing docket(.1); reviewing Plan and DS timeline (.1); e-          1.00       $675.00
              mails re DS language re holder dispute, reviewing same, TC B.
              Guiney re same, TC D. Lowenthal re same (.8).
1 1/18/16 DAL Emails with E. Lamek and B. Guiney re Disclosure Statement             1.40      $1,358.00
              language (.2); review emails from BNYM's counsel re
              upcoming hearing in Canada and follow-up email from
              Wilmington Trust's counsel re same, and review of issue they
              raised for Law Debenture to consider (.2); review agenda for
              upcoming Court hearing in Delaware (.1); tc B. Guiney re next
              steps (.9).
1 1/18/16 BPG    Tcs with D. Lowenthal and E. Lamek re: status, noteholder           1.20       $888.00
                 inquiries, review materials pertaining to Canadian plan and
                 meeting order (1.2).
1 1/18/16 CWD Reviewing docket, e-mails re 11/22 hearing (.2).                      0.20        $135.00
1 1/21/16 DAL Review agenda and begin review of multiple documents filed re          1.00       $970.00
              PBGC issues (1.0).
1 1/21/16 BPG    Confer D. Lowenthal and C. Dent re: open issues (.3);              2.10       $1,554.00
                 reviewing objections to DS and e-mails re: same (1.1); work on
                 e-mail to holders counsel and follow-up re: same (.7).
1 1/21/16 CWD Reviewing docket (.2); OC B. Guiney re 11/22 hearing and              0.70        $472.50
              holder communications, e-mails re same (.5).
1 1/22/16 DAL Review multiple filings for hearing on the PBGC issues (4.0);         5.00       $4,850.00
               email J. Heaney re hearing (.1); report to J. Heaney re hearing
              (.7); letter from J. Tecce (.2).
1 1/22/16 BPG    Attention to DS objections, follow-up re: PBGC hearing,             1.00       $740.00
                 attention to noteholders' inquiry (1.0).
1 1/22/16 CWD Reviewing docket(.1); OC B. Guiney re holder issues,                  0.30        $202.50
              reviewing letter re same (.2).
1 1/23/16 DAL Tc with T. Musarra and J. Heaney re next steps (.2); prepare for       1.50      $1,455.00
              and participate in weekly call (1.1); review draft update to J.
              Stark and email with J. Heaney re same (.2).
1 1/23/16 BPG Attention to e-mails re: committee call, follow-up re: same,          0.60        $444.00
              confer C. Dent re: open issues.
1 1/23/16 CWD Reviewing docket, e-mails re PBGC issues (.1).                        0.10         $67.50
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1 1/27/16 DAL Emails from Akin re Cleary's draft reply to the Disclosure             0.50        $485.00
              Statement objections and review same (.S).
1 1/27/16 BPG Review reply to DS objections and e-mails re: same (.8).               0.80        $592.00

1 1/28/16 DAL Review Disclosure Statement issues with B. Guiney (.5); emails         1.30      $1,261.00
              with Akin re UCC call (.2); review updated Disclosure
              Statement (.6).
1 1/28/16 BPG Confer D. Lowenthal re: open issues and next steps,                    1.20        $888.00
              preparations for 11/29 meeting; confer C. Dent re: same;
              reviewing revised DS replies.
1 1/28/16 CWD Reviewing docket, OC B. Guiney re holder call (.2).                    0.20        $135.00

1 1/29/16 DAL Tc B. Guiney re upcoming case issues (.4); Tc Tecce/Holzman            0.90        $873.00
              (.5).
1 1/29/16 BPG Confer D. Lowenthal re: this afternoon's call (.4); attention to       1.30        $962.00
               PBGC motion to shorten and follow-up re: same, confer D.
               Lowenthal and obtain dial-in (.4); participate on call with J.
               Tecce and D. Holzman, with D. Lowenthal and follow-up (.5).
1 1/29/16 CWD Reviewing docket, OC B. Guiney re same (.2).                           0.20        $135.00

1 1/30/16 DAL Review updated DS,Plan and related files for DS hearing and            3.20       $3,104.00
              emails with S. Miller re same (2.4); tc S. Miller re update (.2);
              tc B. Guiney re status (.1); tc T. Musarra and J. Heaney re
              update (.2); emails with K&E re additional proposed language
              to DS (.3).
1 1/30/16 BPG Tc D. Lowenthal re: hearing (.1).                                      0.10         $74.00

1 1/30/16 CWD Reviewing docket, e-mails re same w/D. Lowenthal and B.                0.10         $07.50
              Guiney (.1).
                                                   Total Services                   87.30      $74,336.00

              Daniel A Lowenthal              44.30 hours at        $970.00       $42,971.00
              Brian P. Guiney                 36.00 hours at        $740.00       $26,640.00
              Craig W. Dent                    7.00 hours at        $675.00        $4,725.00

              Reproduction                                                           $94.05
                                                   Total Expenses                                 $94.05

                                                   Total This Invoice                           4 4 0 OS




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                        Patterson Belknap Webb &'Tyler LLP
             1133 Avenue of the Americas   New York, NY 1.0036-6710   212.336.2000   fax 212.336.2222   www.pbwt.com

Law Debenture Trust Company of New York                                                    Invoice No. 1007122
400 Madison Avenue                                                                         November 9, 2016
New York, NY 10017                                                                         FEI No. XX-XXXXXXX

Re: NORTEL                                                                                 L0353-000007



                                   CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                 October 31, 2016 In Connection With The Following:



10/03/16 BPG           Review docket(.1).                                                                 0.10           $74.00
10/04/16 DAL Emails and Tc with F. Hodara re SPSA issues (.4).                                            0.40          $388.00
10/04/16 BPG           Attention to e-mail from F. Hodara,follow-up re: same with D.                      0.40          $296.00
                       Lowenthal (.4).
10/04/16 ~;WD E-mails re SPSA (.1).                                                                       0.10           $67.50
10/05/16 UAL Emails from Akin re SPSA; emails with Cleary re page limits                                  0.50          $485.00
             for appellate briefs; review signed SPSA.
10/US/16 BPG Attention to MOR (.2); attention to e-mails re: final SPSA and                               0.50          $370.00
             follow-up (.3).
10/05/16 CWD Reviewing docket (.1).                                                                       0.10           $67.50

10/06/16 DAL           Weekly call (1.0); emails re holders'requests (.3).                                 1.30        $1,261.00
10/06/16 BPG  Prepare for and participate on weekly call (.8); OC D.                                      2.50         $1,850.00
              Lowenthal re: same and follow-up re: transition issues (.7);
              reviewing settlement agreement and follow-up re: effectiveness
             (.7); review and consider e-mail from D. Holzman,follow-up
              re: same (.3).
10/06/16 CWD Reviewing monthly operating report (.1); OC B. Guiney re                                     0.30          $202.50
              restructuring issues (.1); OC B. Guiney re call and SPSA
              approval (.1).
10/07/16 DAL Tc J. Heaney, tc B. Guiney, emails with S. Miller and E. Lamek                                2.60        $2,522.00
              re case issues (2.6).
10/07/16 BPG Review letter to Third Circuit (.5); tc D. Lowenthal re: inquiry                              1.00         $740.00
              and follow-up re: same (.5).




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10/07/16 CWD Reviewing revised appeal letter, e-mails re same, TC D.                  0.40        $270.OQ
             Lowenthal re same (.2); e-mails and follow up re Dewey
             invoices, TC D. Lowenthal re same (.2).
10/10/16 DAL Tc B. Guiney re status (.3).                                             0.30        $291.00
10/10/16 BPG  Attention to Holzman request and follow-up re: same, confer D.          2.60       $1,924.00
              Lowenthal re: same (.7); attention to final Third Circuit letter
             (.4); follow-up research and analysis re: PBGC joint and several
              liability (1.5).
10/10/16 BPG Confer D. Lowenthal re: status, next steps, follow-up re: same           0.40        $296.00
             (.4).
10/10/16 CWD Reviewing docket (.1).                                                   0.10         $67.50

10/11/16 BPG     Attention to e-mail from R. Johnson and follow-up (.3).              0.30        $222.00

10/12/16 BPG Review docket, attention to e-mail from R. Johnson, confer C.            0.80        $592.00
             Dent re: status (.4); review materials from accounting, finalize
             fee spreadsheet and circulate (.4)
10/12/16 CWD E-mails re SPSA,reviewing bondholder joinders and                        0.40        $270.00
             announcements re same (.2); TC B. Guiney re fee issues (.1);
             reviewing docket (.1).
10/13/16 DAL Weekly call and follow-up (1.2); send spreadsheet to J. Heaney           2.10       $2,037.00
            (.8); email from F. Hodara re status (.1).
10/13/16 BPG    Review materials for weekly call, participate on same and             2.00       $1,480.00
                follow-up; attention to follow-up e-mails, confer with D.
                Lowenthal re: fee issues (2.0).
10/13/16      Reviewing docket and SPSA-related motions (.2); Committee               0.90        $607.50
              call, OC D. Lowenthal and B. Guiney re same and PBGC issues
             (.7).
10/14/16 DAL Review PBGC opposition statements and email update to J.                 1.60       $1,552.00
              Heaney (.5); tc J. Tecce re case issues and follow-up with B.
              Guiney (.5); tc J. Heaney and B. Guiney re same (.6).
10/14/16 BPG  Tc D. Lowenthal re: request from holders; follow-up re: same            2.20       $1,628.00
              and consider same; confer C. Dent re: same; follow-up tc with
              D. Lowenthal re: same, tc with D. Lowenthal and J. Heaney re:
              same.
10/14/16 CWD Follow up re PBGC (.1); e-mails re holder communications, OC             0.50        $337.50
              B. Guiney re same (.3); reviewing docket (.1).
10/17/16 BPG Consider request from holders and OC D. Lowenthal re: same;              1.80       $1,332.00
              update C. Dent re: same and follow-up; review docket(1.8).
10/17/16 CWD E-mails re Canadian motions re SPSA (.1); reviewing docket               0.50        $337.50
             (.1); OC B. Guiney re holder communications (.3).



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    10/18/16 DAL Email from Debtors' counsel re request for information to             0.90        $873.00
                  facilitate distributions, email to B. Guiney re same (.1); emails
                  with J. Heaney and tc B. Guiney re same (.2); review PBGC
                  statement re objection to settlement concerning NNCC issues
                 (.1); review PBGC statement filed with the Court(.3); tc B.
                  Guiney re same (.2).
    10/18/16 BPG Attention to escrow motion and follow-up; confer D. Lowenthal         4.20       $3,108.00
                  re: hearing and objection deadline; consider inquiry from
                  holders per D, Lowenthal and follow-up; review PBGC
                  statement, consider same and follow-up, confer Akin Gump re:
                  same (2.1); review PBGC response to escrow motion, follow-up
                  re: same (1.1); OC D. Lowenthal re: holder inquiry, follow-up
                  re: same (1.0).
    10/18/16 CWD TC B. Guiney re holder issues (.1); reviewing docket, e-mails re      0.20        $135.00
                  PBGC filing (.1).
    10/19/16 DAL Outline issues based on tc with holders' counsel; conf. B.            3.20       $3,104.00
                  Guiney re same; tc J. Heaney re same; follow-up tc with B.
                  Guiney and C. Dent; review US Debtors' response to PBGC
                  opposition; tc B. Guiney re same.
~   10/19/16 DAL Work on distribution issues, including review spreadsheet re          0.60        $582.00
                  same (.6).
    10/19/16 BPG OC D. Lowenthal re: bondholder inquiries (1.2); follow-up re:         4.10       $3,034.00
                  same, confer C. Dent re: same and follow-up analysis re: same
                 (2.2); consider rely to PBGC and follow-up re: same (.7).
    10/19/16 CWD Reviewing docket(.2); TC and OC D. Lowenthal and B.                   0.70        $472.50
                  Guiney re holder issues, follow up re same (.5).
    10/20/16 DAL Review PBGC issues re NNCC with Akin; review draft Plan               3.00       $2,910.00
                  and Disclosure Statement; review M. Riela's comments to draft
                  Plan and Disclosure Statement; tc and conf B. Guiney re same.
    10/20/16 BPG     Review materials for UCC call and confer D. Lowenthal re:         3.00       $2,220.00
                     10/21 hearing (.5); participate on call and follow-up (1.0);
                     confer D. Lowenthal re: holder inquiry and follow-up, review
                     indenture re: same, OC C. Dent re: same (1.5).
    10/20/16 CWD Reviewing docket(.2); e-mails re Plan (.1); OC B. Guiney re           0.40        $270.00
                 indenture issues (.1).




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l 0/21/16 DAL Revisions to Plan and Disclosure Statement; tc C. Dent re same;        4.30       $4,17 l .00
               emails with B. Guiney re Court hearing; Tc S. Miller re same
              (4.3).
10/21/16 BPG Attention to e-mails re: case status and inquiry from                   4.50       $3,330.00
               noteholders, prepare for and monitor hearing, follow-up re:
               same (1.0); reviewing draft Plan (2.0); tc D. Lowenthal re:
               same, circulate proposed revisions to same (1.5).
10/2]/16 CWD Reviewing docket(.2); TC D. Lowenthal re Plan issues (.3);              0.60         $405.1)0
              reviewing status update letters (.1).
l 0/24/16 DAL Schedule call with Monitor's counsel to discuss plan logistics         0.80         $770.00
             (.1); conf case issues with B. Guiney (.7).
10/24/16 BPG  Confer D. Lowenthal re: plan and Disclosure Statement (.3);            2.10       $1,554.00
              reviewing DS and vm B. Kahn re: same (1.6); review updates to
              District Court re: pending appeals (.2).
10/24/16 CWD Reviewing docket(.1); e-mails re revised Plan, reviewing same           0.30         $202.50
             (.2).
10/25/16 DAL Send draft Canadian plan to E. Lamek (.1); work on revisions to         3.40       $3,298.00
              Plan and Disclosure Statement (3.2); emails with Monitor's
              counsel re Canadian plan (.1).
10/25/16 BPG     Reviewing and revising Plan, confer D. Lowenthal re: same,          3.40       $2,516.00
                 confer M. Riela re: same, multiple e-mails and TCs re: same
                (2.9); follow-up re: same, attention to Disclosure Statement (.5).
10/25/16 CWD OC B. Guiney re Plan (.2); e-mails re revised Plan and                  0.30         $202.50
             Disclosure Statement (.1).
10/26/16 DAL Tc and emails with B. Guiney re Plan issues (.4); review                130        $1,261.00
              revisions to Disclosure Statement (.8); email from .Akin re status
             (.1).
10/26/16 CWD Reviewing docket, e-mails re revised Disclosure Statement and           0.20         $135.00
              Plan, OC B. Guiney re same (.2).
10/27/16 DAL Work on distribution mechanics, including tc with B. Guiney re          0.80         $776.00
             issues in Canada, review updated draft from Cleary (.8).
10/27/16 BPG Reviewing Canadian plan, e-mails re: same, confer E. Lamek              3.70       $2,738.00
             re: same (1.0); participate on call re: solicitation and
             distributions, follow-up re: same (.6); prepare for and participate
             on UCC call (1.0); update D. Lowenthal re: same, e-mails re:
             same,review e-mail from P. Cantwell re: distribution provisions
             and follow-up (.8); follow-up same re: same (.3).
10/27/16 CWD E-mails re Plan comments, reviewing same (.3); reviewing                0.40         $270.00
             docket (.1).




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                                                                         Invoice No. 1007122
                                                                         November 9,2016
                                                                         L0353-000007

10/28/16 DAL Work on distribution issues and mechanics, including multiple            1.40      $1,358.00
             emails with Cleary and tcs with B. Guiney (1.4).
10/28/16 BPG E-mails and TCs re: Plan and Disclosure Statement, issues                1.20        $888.00
             raised by holders (.5); prepare for and participate on TC re:
             distribution mechanics, follow-up re: same (.7).
10/28/16 CWD Reviewing docket(.1); OC and TC D. Lowenthal and B.                      0.30        $202.50
             Guiney re Plan issues (.2).
10/29/16 BPG     E-mails re: distribution mechanics, review revised documents.        1.00        $740.00

10/30/16 DAL Review updated Disclosure Statement (.6); tc with counsel for            1.80      $1,746.00
             the Debtors and holders re distribution mechanics and follow-up
             with B. Guiney (1.0); review updated language received from
             Debtors' counsel and emails with B. Guiney re same (.2).
10/30/16 BPG  Prepare for and TC re: distribution mechanics, follow-up D.             1.80       $1,332.00
              Lowenthal re: same (1.2); reviewing revised documents (.6).
10/31/16 DAL Emails with Law Debenture re distribution issues and tc                  3.30       $3,201.00
              yesterday with counsel for the Debtors and holders (.8); conf B.
              Guiney re same (.2); tc K. Dine re status (.1); attempt tc S. Star
             (.1); further emails with Law Debenture and Tc with B. Guiney
             (.5); emails with J. Heaney, J. Tecce, and B. Guiney re meeting
              requests (1.4); review updated Plan received from Cleary (.2).
10/31/16 BPG     Reviewing revised versions ofPlan and Disclosure Statement,          1.60       $1,184.00
                 follow-up re: same (.8); multiple TCs and e-mails pertaining to
                 inquiry from certain holders (.8).
                                                   Total Services                    85.50      $70,562.50

              Daniel A Lowenthal              33.60 hours at        $970.00        $32,592.00
              Brian P. Guiney                 45.20 hours at        $740.00        $33,448.00
              Craig W. Dent                    6.70 hours at        $675.00         $4,522.50

              Electronic Legal Research                                                68.74
                                                   Total Expenses                                  $68.74

                                                   Total This Invoice                           70 631.24




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                       Patterson Belknap Webb ~ Tyler                                                  LLP


             1133 Avenue of the Americas   New York, NY 10036-6710   212.336.2000   fax 212.336.2222    www.pbwt.com

Law Debenture Trust Company of New York                                                   Invoice No. 1003987
400 Madison Avenue                                                                        October 24, 2016
New York, NY 10017                                                                        FEI No. XX-XXXXXXX

Re: NORTEL                                                                                L0353-000007



                                   CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                September 30,2016 In Connection With The Following:



09/01/16 DAL Emails with Cleary and Akin re SPSA (.5); weekly call and                                       1.60      $1,552.00
             follow-up with S. Miller, D. Botter, and E. Lamek (1.6).
09/01/16 CWD E-mails re SPSA revisions (.1); Committee call, OC D.                                           0.50       $337.50
             Lowenthal re same (.4).
09/05/16 BPG          Review revised SPSA and follow-up (1.0)                                                1.00       $740.00
09/06/16 DAL Review updated SPSA,emails with S. Miller and E. Lamek, Tc                                      3.40      $3,298.00
             S Miller re status, Tc D. Botter re same.
09/06/16 BPG Confer C. Dent re: Nortel SPSA (.2); follow-up D. Lowenthal                                     0.90       $666.00
             re: Nortel and confer re: appeal (.3); follow-up re: same, tc S.
             Miller re: same and compose e-mail to Clerk of Court (.4).
09/06/16 CWD OC B. Guiney re SPSA and related issues, reviewing docket                                       0.20       $135.00
            (.2).
09/07/16 DAL Tc E. Lamek re status; emails with B. Guiney re Third Circuit                                   1.20      $1,164.00
             conference (.8); update on same from B. Guiney and PBGC
             counsel issues (.4); Tc J. Heaney re same (.2).
09/07/16 BPG          Travel to, attend and return from Court conference, follow-up                          7.40      $5,476.00
                      re: same; tc D. Lowenthal re: same and re: waiver request;
                      prepare update re: Court conference (7.4).
09/08/16 DAL Review and revise status report on Third Circuit conference                                     1.80      $1,746.00
             (1.0); weekly call and follow-up Tc with Akin (.8)
09/08/16 BPG Review revised SPSA and follow-up (.4); follow-up S. Miller                                     1.6U      $1,184.00
              re: conference (.1); confer D. Lowenthal re: summary and revise
              same (.2); attention to materials for UCC call and follow-up
             (.1); participate on same and follow-up TC with D. Bolter and
              D. Lowenthal (.8).




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      09/08/16 CWD Preparing for and participating in Committee call, OC D.               0.80        $540.00
                     Lowenthal and B. Guiney re PBGC issues, TC Akin re same
                    (.8).
      09/09/1 C UAL Review draft waiver letter and email Law Debenture (.3);              1.60       $1,552.00
                     review updated draft SPSA and emails to Quinn re revision that
                     might not reflect their deal (.6); follow up on SPSA with Quinn
                    (.5); follow-up work re Milbank issue (.2).
      09/09/16 BPG     Review revised SPSA and attention to e-mails re: same (.5);        1.00        $740.00
                       confer D. Lowenthal re: same (.2); begin compiling materials
                       for quarterly update (.3).
      09/09/16 CWD E-mails re SPSA revisions and related issues (.2).                     0.20        $135.00

      09/12/16 DAL Send updated SPSA to Quinn, S. Miller, and E. Lamek (.2).              0.20        $194.00

      09/12/16 BPG     Review revised SPSA (.4).                                          0.40        $296.00

      09/12/16 CWD Reviewing SPSA mark-up (.7).                                           0.70        $472.50

      09/13/16 DAL Emails with J. Heaney re distribution issues (.1); email with J.       0.60        $582.00
                    Bromley re same (.1); Tc S. Star re case issues (.2); Tc J.
                    Heaney re same (.2).
      09/13/16 BPG Review e-mails re: distribution waterfall and follow-up re: same       0.40        $296.00
                   (.2); attention to docket and case calendar (.2).
      09/14/16 DAL Email SPSA issue update to E. Lamek and S. Miller (.4).                0.40        $388.00

      09/14/16 BPG Draft, finalize and circulate quarterly update (1.9); attention to     2.40       $1,776.00
                   revised settlement agreement, e-mails re: same (.5).
      09/14/16 CWD Reviewing SPSA markup, e-mails re same (.2).                           0.20        $135.00

      09/15/16 DAL Prepare for and participate in weekly call (1.0).                      1.00        $970.00

      09/15/16 BPG Review materials for UCC call, prepare for and participate on          2.10       $1,554.00
                   same,follow-up D. Lowenthal re: same, finalize and circulate
                   quarterly update.
      09/15/16 CWD Committee call, OC D. Lowenthal and B. Guiney re same (.5);            0.60        $405.00
                   reviewing docket (.1).
      09/20/16 BPG     Attention to sub con /settlement issues, research re: same,         1.30       $962.00
                       follow-up D. Lowenthal re: same (.9); attention to summary of
                       motion in Canadian court and follow-up (.4).
      09/20/16 CWD Reviewing docket, e-mails re Canadian claims (.1).                     0.10          $67.50

      09/21/16 DAL      Work on billing (.3).                                             0.30        $291.00

      09/21/16 BPG     Review docket and review CCAA pleadings (.2).                      0.20        $148.00

_ ~   09/21/16 CWD Reviewing docket, e-mail to managing clerk re same (.2).               0.20        $135.00




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    09/22/16 DAL Prepare for and participate in weekly call (.6); draft and finalize      2.50      $2,425.00
                 quarterly update to client (.8); attention to settlement execution,
                 including Tc J. Heaney and Tc Akin re same.(.9).
    09/22/16 BPG Prepare for and participate on weekly call, follow-up re: same           2.40      $1,776.00
                 (.6); review revised SPSA,tc B. Kahn re: same and follow-up
                 (.5); confer D. Lowenthal re update and follow-up (.2); tc D.
                  Botter and B. Kahn re: PBGC and appeal issues, follow-up D.
                  Lowenthal and C. Dent re: same, tc D. Botter and B. Kahn re:
                  SPSA (1.1).
    09/22/16 CWD TC D. Lowenthal and M. Riela re SPSA issues, OC same and B.              1.00        $675.00
                  Guiney re same, TC Akin re same (1.0).
    09/23/16 DAL Work on settlement, including UCC call (1.0).                            1.00        $970.00
    09/23/16 CWD Preparing for and participating in Committee call (2.0);                 2.10       $1,417.50
                  reviewing docket (.1).
    09/2'7/16 CWD Reviewing SPSA mark-up, reviewing docket (.1).                          0.10         $67.50
    09/28/16 DAL Review PBGC statement (.2).                                              0.20        $194.00
    09/28/16 CWD Reviewing docket (.l).                                                   0.10         $67.50
~   09/29/16 DAL Weekly call and follow-up; emails with J. Heaney re                      1.30       $1,261.00
                 engagement letter; review same.
    09/29/16 BPG Review materials for call, participate on same,follow-up re:             1.10        $814.00
                 same (1.0); attention to e-mail re: settlement and follow-up (.1).
    09/29/16 CWD Reviewing PBGC appeal summary (.1); e-mails re hearing                   1.00        $675.00
                 calendar, reviewing docket re same (.2); reviewing SPSA mark-
                 up, e-mails re same (.2); Committee call (.5).
    09/30/l6 BPG Review docket, attention to e-mails re: SPSA, attention to               0.80        $592.00
                 emails re: CCAA (.8).
                                                        Total Services                   47.90      $38,872.00

                  Daniel A Lowenthal                17.10 hours at       $970.00       $16,587.00
                  Brian P. Guiney                   23.00 hours at       $740.00       $17,020.00
                  Craig W. Dent                      7.80 hours at       $675.00        $5,265.00

                  Travel - Transportation/Lodging                                         214.72
                                                        Total Expenses                                $214.72

                                                        Total This Invoice                          39 086.7?




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